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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 United States of America,

               Plaintiff,
                                               Case No. 11-cr-20564
 v.
                                               Hon. John Corbett O’Meara
 D-1 Clarence Williamson, Jr.,

               Defendant.


      ORDER FOR PSYCHIATRIC OR PSYCHOLOGICAL EXAMINATION
             OF DEFENDANT TO DETERMINE COMPETENCY



      On July 7, 2014, a jury was selected by Williamson and the other parties. On

 July 8, 2014, the defendant Williamson did not appear for his trial. The Court was

 informed that defendant had instead gone to William Beaumont hospital. It was

 reported that the defendant complained of physical and psychological issues. The

 Court then revoked Williamson’s bond.

      On July 14, 2014, the Court held a status conference regarding defendant

 Williamson. The Court heard allocution of counsel, and stand-by counsel for

 defendant Williamson orally moved the Court for a Competency Evaluation of

 Williamson.
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    The Court, having heard allocution of counsel, finds that it would benefit from

 such an evaluation so as to determine whether the defendant may presently be

 suffering from a mental disease or defect rendering defendant mentally

 incompetent to stand trial. Accordingly, pursuant to the Insanity Defense Reform

 Act of 1984, 18 U.S.C. §§ 4241-4247, it is hereby ordered:

       (1) That a psychiatrist or psychologist employed by the United States be
           appointed, authorized, and directed to examine the mental condition of
           defendant, see id. §§ 4241(a), (b), 4247(b) at Government expense. The
           Court appoints Dr. Jack P. Haynes, PhD., who previously examined a co-
           defendant in this case, to conduct the examination of Clarence
           Williamson, Jr. at defendant’s place of incarceration (currently the
           Dickerson facility).

             a. IT IS FURTHER ORDERED that William Beaumont hospital send
                and provide the medical records concerning defendant Williamson
                to Dr. Haynes forthwith at:

                    i. Jack P. Haynes, Ph.D, 36700 Woodward Ave., Suite 30,
                       Bloomfield Hills, MI 48304-0928 or send by fax or email to
                       Dr. Haynes at:

                   ii. Jackphaynesphd@comcast.net fax number (248) 988-9425.

             b. IT IS FURTHER ORDERED that Dr. Haynes may bring a lap-top
                computer into the place of defendant’s incarceration to aid in his
                evaluation.
             c. IT IS FURTHER ORDERED that Dr. Haynes has access to the
                records at said place of incarceration and may interview the
                institution’s staff regarding Mr. Williamson’s functioning.
             d. IT IS FURTHER ORDERED that Dr. Haynes may interview
                employees of the U.S. Marshal Service who were at Beaumont
                hospital at the time defendant Williamson was at said hospital.

       (2) IT IS FURTHER ORDERED that defendant, who is currently detained,
           remain in custody for such psychiatric or psychological examination for a
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          period not to exceed 30 days, see id.§ 4247(b) and thereafter until further
          order of the Court for the reasons stated on the record on July 8, 2014 ;

       (3) IT IS FURTHER ORDERED that the examining psychiatrist or
           psychologist prepare, as soon as practical, a written report that includes
           (1) the defendant’s history and present symptoms; (2) a description of the
           psychiatric, psychological, and medical tests that were employed and
           their results; (3) the examiner’s findings; and (4) the examiner’s opinions
           as to diagnosis, prognosis, and whether the defendant is suffering from a
           mental disease or defect rendering him mentally incompetent to the
           extent that he is unable to understand the nature and consequences of the
           proceedings against him or to assist properly in his defense, see 18
           U.S.C. §§ 4241(b), 4247(c);

       (4) IT IS FURTHER ORDERED that the examiner shall promptly file the
           written report with this Court and provide copies of the report to defense
           counsel and the attorney for the government, see id. § 4247(c). The
           report may be used by any party for purposes of a competency hearing,
           detention hearing, or any other purpose the Court may order; and

       (5) IT IS FURTHER ORDERED that the period beginning July 8, 2014
           through the conclusion of the competency hearing, see id.§§ 4241(c),
           4247(d), which will take place at a date and time set by the Court after
           the Court and parties receive the examiner’s written report, be deemed
           excludable delay under the Speedy Trial Act pursuant to 18 U.S.C. §§
           3161(h)(1)(A) and (h)(1)(F), and that the period beginning the day after
           the conclusion of the competency hearing and ending with the Court’s
           ruling on defendant’s mental competency or with the lapse of 30 days,
           whichever occurs first, be deemed excludable delay pursuant to 18
           U.S.C. § 3161(h)(1)(H).

    IT IS SO ORDERED.


 Date: July 17, 2014                                 s/John Corbett O’Meara
                                                     United States District Judge
